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                               UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF MAINE


   DAVID FIACCO                                   )
                                                  )
                  Plaintiff,                      )
                                                  )
   v.                                             )      Docket No. 1:05-cv-145-GZS
                                                  )
   SIGMA ALPHA EPSILON                            )
   FRATERNITY                                     )
                                                  )
                  Defendant.                      )
                                                  )


                    ORDER REQUESTING ADDITIONAL BRIEFING

          Before the Court is Defendant Sigma Alpha Epsilon’s Motion for Summary
   Judgment (Docket # 54) and Plaintiff David Fiacco’s Response (Docket # 71). Having
   considered the parties’ briefs, the Court concludes that additional briefing is necessary.
          The Court ORDERS that the parties submit additional briefs on the issue of
   whether the First Amendment precludes Plaintiff’s recovery on the claim of intentional
   infliction of emotional distress. See Hustler Magazine v. Falwell, 485 U.S. 46, 50 (1988);
   see also Veilleux v. National Broadcasting Company, 206 F.3d 92, 126-29 (1st Cir. 2000)
   (discussing whether the First Amendment and Hustler Magazine preclude recovery on
   state claims of misrepresentation).     These briefs shall also address the question of
   whether Plaintiff Fiacco is a public official or public figure, see, e.g., Rosenblatt v. Baer,
   383 U.S. 75 (1966) (discussing the limitations of the “public official” determination in
   the context of defamation), as well as whether the record creates a triable issue with
   respect to actual malice. See, e.g., Tucci v. Guy Gannett Publ’g Co., 464 A.2d 161 (Me.
   1983) (discussing whether the actual malice standard was satisfied by “clear and
   convincing evidence” on a motion for summary judgment in a case asserting defamation).
          Defendant shall file the requisite additional brief on or before February 7, 2007.
   Plaintiff shall file a response on or before February 26, 2007.         Any reply brief by
   Defendant shall be filed on or before March 7, 2007. Oral argument will be set following
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   the Court’s receipt of the additional briefs.      The parties are instructed to include
   additional statements of material fact in compliance with Local Rule 56 to the extent that
   such statements are necessary to support the additional briefing.



   SO ORDERED.

                                         /s/ George Z. Singal
                                         Chief United States District Judge

   Dated at Portland, Maine, this 19th day of January, 2007.
